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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION

                                                                           Electronically Filed

 THE HONORABLE ORDER OF                          )
 KENTUCKY COLONELS, INC.                         )
                                                 )
        PLAINTIFF                                )
                                                 )
                                                 )
 v.                                              ) CIVIL ACTION NO. 3:20CV-132-RGJ
                                                 )
 KENTUCKY COLONELS                               )
 INTERNATIONAL, et al.                           )
                                                 )
                                                 )
        DEFENDANTS                               )


                                AGREED ORDER OF DISMISSAL

       Plaintiff, The Honorable Order of Kentucky Colonels, Inc., and Defendants, David J.

Wright; Kentucky Colonels International (defunct); Globcal International; and Ecology

Crossroads Cooperative Foundation, Inc., by counsel, having advised the Court that this matter

has been resolved, and the Court being otherwise duly and sufficiently advised,

       IT IS HEREBY AGREED AND ORDERED that the claims asserted in the Complaint be,

and they are hereby, dismissed with prejudice.



           February 23, 2021
